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15
                           UNITED STATES DISTRICT COURT
16                       NORTHERN DISTRICT OF CALIFORNIA
                                     OAKLAND DIVISION
17   _______________________________________
                                             )
18                                           ) Case No. 4:08-cv-04373-JSW
       CAROLYN JEWEL, et al.,                )
19                                           )
                              Plaintiffs,    ) THE GOVERNMENT DEFENDANTS’
20                                           ) NOTICE OF SUBMISSION
                        v.                   ) OF THEIR CLASSIFIED AND
21                                           ) UNCLASSIFIED RESPONSES TO
       NATIONAL SECURITY AGENCY,             ) THE COURT’S MAY 22, 2017 ORDER
22      et al.,                              )
                                             ) Hon. Jeffrey S. White
23                            Defendants.    ) Courtroom 5, 2nd Floor
                                             ) Oakland Courthouse
24   _______________________________________)
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     Gov’t Defs.’ Notice of Submission of their
     Classified and Unclassified Response to the Court’s May 22, 2017 Order
     Jewel v. National Security Agency (4:08-cv-04373-JSW)
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 1           The Government Defendants respectfully submit this notice of their submission of their
 2   classified and unclassified response to the Court’s May 22, 2017, Civil Minute Order, ECF
 3   No. 356 (the “Court’s Order”). The Court’s Order permitted Plaintiffs to serve revised discovery
 4   requests, limited to the information necessary to establish their standing, and ordered the
 5   Government Defendants to respond to those requests, including by noting “whether some
 6   responses would be classified.” Id. The Court further required the Government Defendants “to
 7   marshal all evidence” pertaining to Plaintiffs’ standing to bring their statutory claims, consistent
 8   with the Court’s oral order at the May 19, 2017, case management conference. Id. Any
 9   unclassified responses to the Plaintiffs’ revised discovery requests were to be submitted on the
10   public record, id., while classified materials responsive either to the Plaintiffs’ revised discovery
11   requests or to the Court’s requirement that the Government Defendants marshal all evidence
12   pertaining to standing were to be submitted ex parte and in camera. Id.
13           On June 19, 2017, the Plaintiffs’ served on the Government Defendants 160 discovery
14   requests on the issue of standing, consisting of 40 interrogatories, 63 requests for admission, and
15   57 requests for production of documents. After meeting and conferring with the Government
16   Defendants, the Plaintiffs served a revised set of their discovery requests on July 11, 2017.
17           Submitted herewith, as Appendix A, are the Government Defendants’ unclassified
18   objections and responses to Plaintiffs’ revised discovery requests.
19           The Government Defendants’ classified responses to the Plaintiffs’ revised discovery
20   requests are set forth in the Classified Declaration of Admiral Michael S. Rogers, Director of the
21   National Security Agency (“NSA”) (“Classified NSA Declaration”). The Classified NSA
22   Declaration incorporates classified responses to the Plaintiffs’ interrogatories and requests for
23   admission, and is accompanied by classified documents and information responsive to the
24   Plaintiffs’ requests for production of documents. The Classified NSA declaration and the
25   classified documents responsive to Plaintiffs’ requests for production have been lodged with the
26   Court Information Security Officer, and will be made available to the Court for its ex parte, in
27   camera review subject to necessary and appropriate arrangements to ensure their proper
28   handling, and protect against their unauthorized disclosure. The Government Defendants will

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 1   prepare a publicly releasable, unclassified version of the Classified NSA Declaration, and will
 2   file that version on the public record of this case as soon as practicable.
 3             Consistent with the Court’s January 19, 2018 Order, the Government Defendants also
 4   will supplement their classified ex parte, in camera submission by April 1, 2018 with the results
 5   of the remaining searches of preserved communications data that could not be completed by
 6   February 16, 2018. See ECF No. 387 at 5.1
 7             Also filed herewith, as Appendix B, is the Public Declaration of Susan M. Gordon,
 8   Principal Deputy Director of National Intelligence (“PDDNI”) and Acting Director of National
 9   Intelligence (“DNI”), dated February 16, 2018 (“Public PDDNI Declaration”). For the reasons
10   explained in the Public PDDNI Declaration and the Classified NSA Declaration, the PDDNI, in
11   her capacity as Acting DNI, asserts the state secrets privilege, and the statutory privilege under
12   50 U.S.C. § 3024(i)(1), over the classified documents and information being made available to
13   the Court in response to Plaintiffs’ revised discovery requests, whether as part of the instant
14   submission, or as the Government Defendants may later submit in further response to Plaintiffs’
15   requests. For the same reasons, the Director of the NSA also asserts the NSA’s statutory
16   privilege under section 6 of the National Security Agency Act of 1959, 50 U.S.C. § 3605(a), over
17   the aforesaid documents and information. As explained by the PDDNI and the Director of the
18   NSA, these materials are protected by the state secrets privilege and the statutory privileges
19   under 50 U.S.C. § 3024(i)(1) and § 3605(a) because they concern classified sources, methods,
20   and operational details of NSA foreign-intelligence gathering activities that cannot be publicly
21   disclosed without risk of exceptionally grave damage to the national security of the United
22   States.
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              As the Government Defendants noted in the parties’ January 18, 2018, stipulation, most,
26   but not all, of the searches of preserved communications data using identifiers (such as e-mail
     addresses and telephone numbers) associated with Plaintiffs’ communications could be
27   completed by February 16, 2018. See ECF No. 386 at 1–2. The Government Defendants
     anticipated that any remaining searches not completed by February 16 would be completed by
28   April 1. See id. at 2.

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     Dated: February 16, 2018
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 3                                                           Respectfully submitted,
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